Case 1:19-cr-10080-LTS Document 2719-21 Filed 08/15/23 Page 1 of 20




          EXHIBIT 21
     Case 1:19-cr-10080-LTS Document 2719-21 Filed 08/15/23 Page 2 of 20



      9163848802 2018-09-29 15-24-23 09249-001


 1    Call Date:2018-09-29

 2    Call Duration: 13:40

 3    Call Begin: 15:24:23

 4    Participants:

 5          John Wilson

 6          Rick Singer

 7    File Name:9163848802 2018-09-29 15-24-23 09249-001

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10

11    WILSON:    Hey, Rick.How ya doin'?

12    SINGER:    Hey, John.How are ya?

13    WILSON:    Good.        You feelin' better?

14    SINGER:    Lot better.

15    WILSON:    Oh, [OV/UI].

16    SINGER:    [UI] good?        You been out of town?

17    WILSON:    Yeah, I've been out of town.          Been traveling.I'm

18               goin' to Europe next week, so it'll be easier to

19               connect this week, so...

20    SINGER:    OK, cool. So the girls --

21    WILSON:    [OV] So, yeah --

22    SINGER:    -- were great.

23    WILSON:    Cool.     I, I still didn't get a c-- a f-- a full

24               debrief from 'em, but talked to Leslie. They, um,



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                                                                 USAO-VB-01720554


                                 EX. 571A p. 1 of 19
    Case 1:19-cr-10080-LTS Document 2719-21 Filed 08/15/23 Page 3 of 20



     9163848802 2018-09-29 15-24-23 09249-001


1               they have any clarity on, uh, on where they want to

2               go, what majors, or still--

3    SINGER:    [OV] Yeah. Yeah, well, I mean, you have done a great

4               job of, uh     [laughter] it's so funny - influencing

5               'em on what is the appropriate path to go down. What

6               do you

7               think they both said?          [OV/IA]

8    WILSON:    What, all the Ivy League schools?

9    SINGER:    No, no, I mean -

10 SINGER:         uh, uh, uh, they wanna be business and

11              engineering. [laughter] I said, "So do..." I said,

12              "does that come from your dad?" And, of course,

13             "Well, my dad--they pro--my dad's programmed us,"

14              right? [laughter] So, I said, "That's cool. So we

15              can make all that happen." I said, "You think you

16              might like that?" They said, Well, my dad says we

17              will, so..."

18 WILSON:      [laughter] Come on! I thought they actually liked

19              science and engineering. They [UI]--

20 SINGER:      [OV] No, I'm sure they -

21 WILSON:      -- science.

22 SINGER:      -- I -- but you're -- you've influenced them, right?

23 WILSON:      Yeah, I've influenced 'em, but I want 'em to pick

24              what they like.



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                                                           USAO-VB-01720555


                               EX. 571A p. 2 of 19
    Case 1:19-cr-10080-LTS Document 2719-21 Filed 08/15/23 Page 4 of 20



      9163848802 2018-09-29 15-24-23 09249-001

                                 to
1     SINGER:   No, they're gonna pick--they get it, they get it,

2               Right? And it's just --

3     WILSON:   Yeah.

4     SINGER:   -- it's just funny, 'cause then when Leslie kinda

5               interjected they're like, "Mom, stay out of it.

6               Mom, stay out of it."         Right?    It was funny.      Um,

7               but they're both obviously great girls. They want -

8               in a lot of ways, they want to have the, kind of the

9               same kinds of things from the school.        We, um - I

10              have a huge list of schools for them.        Um, you know,

11              and, and I said, "You guys gotta

12              send me dates, because you both go to 2 separate

13              schools, and Lynnfield and then -- and Andover,

14              different dates of days off.        So Leslie's gonna be

15              runnin' all over the place tryin' to figure out how

16              to get 1 over here for a day, and over here."

17 WILSON:      Yeah.

18 SINGER:      But, uh, that's why I need to know your dates, so I

19              can figure out where to go visit that would be best

20              suited.

21 WILSON:      Right. Now, would they go on weekends, or better to

22              go during school days [UI]?

23 SINGER:      You gotta go on a school day, or, or a day when it's

24              a school day but they're off of school.



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                                                              USAO-VB-01720556


                              EX. 571A p. 3 of 19
    Case 1:19-cr-10080-LTS Document 2719-21 Filed 08/15/23 Page 5 of 20




     9163848802 2018-09-29 15-24-23 09249-001


1    WILSON:    Yeah, OK.

2    SINGER:    That's the ideal situation, 'cause --

3    WILSON:    [OV] That's gonna be tougher, yeah. But the ideal

4               isn't just seeing the campus on a weekend?

5    SINGER:    Yeah, 'cause I gotta get to a point where we know if

6               we're applyin' ED or where we're goinf, what we want.

7               'cause you're gonna wanna know first choice, second

8               choice, all that stuff.

9    WILSON:    Yeah, no, exactly.        And just so I'm, I'm clear on

10              the, the kinda pecking order schools, and UCLAs and

11              all that stuff versus -- uh, I think you said UCLAs

12              mostly are in the, the bracket of, um, like, uh,

13              Stanford - or not Stanford, but like, uh, USC and so

14              forth. And what were the schools in that, if you did

15              the side door? And I'm interested about the side door

16              and that stuff, um -

17 SINGER:      So the side door is gonna be -- gonna happen where

18              you want 'em to happen-

19 WILSON:      It can happen anywhere?        Does it have to be a sports

20              side door?I wasn't clear on that.

21 SINGER:      Well, so that's the -- that's the easiest way to

22              approach it, right -

23 WILSON:      Yeah.

24 SINGER:      -- because all of the coaches have...         You know,



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                                                              USAO-VB-01720557


                              EX. 571A p. 4 of 19
     Case 1:19-cr-10080-LTS Document 2719-21 Filed 08/15/23 Page 6 of 20




      9163848802 2018-09-29 15-24-23 09249-001


 1               they have guaranteed spots, and you've done a good

 2               job, you got athletic girls who got great size,

 3               they're in the right sports, so, you know,

 4               potentially there's a sailing option, and potentially

 5               there's a crew option.        I mean, I don't know how

 6               good of athletes they are.          They may be good enough

 7               to be able to compete at some of these schools, and

 8               then who knows what we have to do, depending

 9               on where, where the spots are.

10     WILSON:   M-hum.     Yeah, so they --

11     SINGER:   [OV] So you have --

12     WILSON:   -- have to get that sports.         Uh, what if they're not

13               really that good?         I mean, they can do some crew,

14               but I don't know they're gonna be good. Courtney's

15               not even that good competitively at sailing. She just

16               taught sailing and did sailing in, you know, [UI] --

17     SINGER:   [OV] Right, so --

18     WILSON:   -- [OV] Yacht Club.

19     SINGER:   But at the end of the day, by the side door, I may

20               be able to go to the sailing coach and say, "Hey,

21               this family's willing to make the contributions.           She

22               could be on your team.         She is a sailor.    She may

23               not be up to the level you are, but she can comp—you

24               know, you're gonna get a benefit, and the family's



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                                                               USAO-VB-01720558


                               EX. 571A p. 5 of 19
    Case 1:19-cr-10080-LTS Document 2719-21 Filed 08/15/23 Page 7 of 20



     9163848802 2018-09-29 15-24-23 09249-001


1               gonna get benefit.        So are you will-- are you

2               interested in doing that?"

3    WILSON:     Yeah. OK.      And just -- but -- and what's the

4                other side door? If it's not a sport, what is it?

5                Is there any other side doors in --

6    SINGER:     Then I have to go to -- then I have to go to the

7                department chairs, and, and, and get - Some

8                schools have a VIP list at the department chair

9                level, so we can go that route, and then you can

10               help their program--their, their program. It just

11               depends on which school you want to go to.

12 WILSON:       OK, [UI], I have this friend -- you know, one of

13               the things I wanted to talk to you about, too, is I

14               -- I don't know how -- I remember last time I did

15               this, you didn't really make any money on this, on

16               the side, this stuff.         You just charge, and then

17               you make a donation to the school, and that's it?

18 SINGER:       Well, uh, so it depends in different ways.           So

19              what's happened in the grown-up world of my world

20              now, compared to when, you know, we did Johnny, was

21              that essentially now the money goes into my

22              foundation, as a donation -

23 WILSON:      Oh, to your foundation, not to the schools.

24 SINGER:      Yeah, then that way the kids don't know it happens,



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                                                              USAO-VB-01720559


                              EX. 571A p. 6 of 19
     Case 1:19-cr-10080-LTS Document 2719-21 Filed 08/15/23 Page 8 of 20



      9163848802 2018-09-29 15-24-23 09249-001


1                right?

2     WILSON:    Yeah.

3     SINGER:    So -- and then the other part of that is they don't

 4               chase you all the time for money. 'Cause once

5                 you -- you know, once you're -- they know you gave

6                money, it's a different story. And then what I can -

7                what I'll do is I'll split the money potentially to

8                the coach or other pl-- parties that are at that

 9               school that need the money, right?

10    WILSON:    M-hum.

11    SINGER:    So - Or it may go right to the coach, um, that's

12                helping us.     It ju-- it just depends on the school.

13    WILSON:    Right.     OK, so you don't actually get credit for a

14                donation to the school, or get hounded for that.    You

15                get, uh --

16    SINGER:    [IA]

17    WILSON:    -- your donation to you, or your foundation, the Key

18               or whatever --

19    SINGER:    Right, and you get --

20    WILSON:    -- that, uh -- and --

21    SINGER:    -- your write-off, and then you do your thing.

22    WILSON:    OK.

23    SINGER:    And then the kids get in the school.

24     WILSON:   So my colleagues -- so, so you c-- you, you



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                                                            USAO-VB-01720560


                                EX. 571A p. 7 of 19
    Case 1:19-cr-10080-LTS Document 2719-21 Filed 08/15/23 Page 9 of 20



     9163848802 2018-09-29 15-24-23 09249-001


1              [inaudible] I assume take a share of that or

2              something. If it's all going to your foundation, you

3              can't take a share if it goes to your foundation.       You

4              don't get a fee on that, then?

5    SINGER:    Um, I just do my fee for what I take when I do your

6               normal applications.

7    WILSON:    Yeah, that's, like, terrible. I, I think, from a

8               business model point of view, again, I advised you

9               last time, [laughter] I still advise you, this is

10              worth a lot to people, and so, you know, to the

11              extent you want to make more money, I would think you

12              would have some kind of fee for that.        It's about_

13              uh, it's 350 to the foundation, plus another 20% for

14              me for using my leverage and my relationships --

15 SINGER:      Yeah.

16 WILSON:      -- or something, no?

17 SINGER:      Well, I'm, I'm gonna use your business model going

18              forward.

19 WILSON:      I think you should. I, I really would advise you...

20              But anyway, I -- so then I have this, uh, close

21              friend of mine here who works at, uh, McKinsey with

22              me, and he's very well off.         He's the head of, uh,

23              one of these big areas in McKinsey for a lot of

24              years. And his daughter's



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                                                             USAO-VB-01720561


                              EX. 571A p. 8 of 19
     Case 1:19-cr-10080-LTS Document 2719-21 Filed 08/15/23 Page 10 of 20




       9163848802 2018-09-29 15-24-23 09249-001



1                -- wants to go to Brown next year. His concern [UI]

2                said, "Well, have you thought about...?"        It may

3                be too late, 1. I don't know. Um, she's going through

                  her senior year right now.

5      SINGER:   Well, what's the relationship that that person would

6                 have...? I mean, is that g-- is that person big

7                 enough in McKinsey that people would know who that

8                 person is?

9      WILSON:   Uh, yeah, probably.

10     SINGER:   OK, so then here would be my suggestion, to be frank

11                with you --

12     WILSON:   OK.

13     SINGER:   -- and I'd love to help -- you know, it is late and

14                all of that.     The president takes meetings all the

15               time from influential people. She's a good gal.       And

16                she--

17     WILSON:   Of Brown? Yeah, I don't know.

18     SINGER:   Yeah, at Brown. So what I would suggest is that,

19                um, he calls up her office -- they have a

20                scheduling person for the president -- and he sets up

21                a meeting for he and his daughter to go meet, and she

22                kinda meets with them, and then she'll give an

23                indication, and he'll get an idea of what it's gonna

24                need -- what's gonna need to be done to, to have her


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                                                            USAO-VB-01720562


                                 EX. 571A p. 9 of 19
    Case 1:19-cr-10080-LTS Document 2719-21 Filed 08/15/23 Page 11 of 20



      9163848802 2018-09-29 15-24-23 09249-001


1                 to go to Brown. That's --

2     WILSON:    [OV/IA] the front door -

3     SINGER:    -- that's the path I would go.

4     WILSON:    -- like, like, $10,000,000 kind of thing?      Or

5                that'd be the-

6     SINGER:   [OV] No, no, no, I think it's a lot less than that.

7                I think it's a lot less than that. But, um, but it's

8                first getting the meeting with the president, and

9                just talkin' about -- and then also what he could do

10               for the university, not only financially but, you

11               know, just in - he could be a, a guest lecturer.     He

12               could do, you know, lots of different things.

13    WILSON:    Uh-huh.

14    SINGER:    That would be my suggestion at this point

15    WILSON:    He wanted to do it -- so the, the other thing he had

16               a concern was he wanted to do it in a way his

17                daughter wouldn't know. His daughter's already said,

18               "Dad, don't help me with this, don't help me with

19                that." She's very kind of, uh -

20    SINGER:    Well, then that's a different path,and then - then I

21               may have to get involved in that. Um -

22    WILSON:   Right, so that's -

23    SINGER:   [OV] -- but, but it's really -

24    WILSON:   -- the only thing he's sensitive to.



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                                                           USAO-VB-01720563


                              EX. 571A p. 10 of 19
    Case 1:19-cr-10080-LTS Document 2719-21 Filed 08/15/23 Page 12 of 20




      9163848802 2018-09-29 15-24-23 09249-001



1      WILSON:   His daughter's, like, really independent

2                 that way.

3      SINGER:   Right.

4      WILSON:   And she's very smart.            She got a 35 or 31 below

5                 perfect --

 6     SINGER:   [OV] But, but --

7      WILSON:   -- on the ACTs --

8      SINGER:   [OV] -- I --

9      WILSON:   -- and all that, but...

10     SINGER:   No, I get it, but it -- what I would do is I would

11                still -- because them goin' to meet the president

12                isn't -- doesn't mean that she's gonna help him, but

13                that's a good starting point.

14     WILSON:   M-hum. Well, maybe I'll just connect you two by an

15                email, and [UI] like that?

16     SINGER:   So --

17     WILSON:   Does that make sense?

18     SINGER:   So I can make the -- I can call the office, and then

19                what they normally - So I just had a family do that,

20                and essentially what they told me to do was just,um,

21                have, have my family call the scheduling coordinator

22                for time --

23     WILSON:     M-hum.

24     SINGER:   -- and, and -- with the background of the



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                                                                USAO-VB-01720564


                                EX. 571A p. 11 of 19
Case 1:19-cr-10080-LTS Document 2719-21 Filed 08/15/23 Page 13 of 20




     9163848802 2018-09-29 15-24-23 09249-001


1               candidates, and then they'll, they'll usually set up

2               the meeting.    Sounds like this person's well - high

3                enough up that it makes sense for [UI] --

4     WILSON:   [OV] Yeah, he's one of the top, let's say, 12

5                people. He's on the Executive Board and all that

6                stuff like that, so...

7     SINGER:   Yeah, yeah, so then that makes sense.

8     WILSON:   Now, he's, um... Let's see, what else? Uh,

9               that's her f-- uh, what do you call it, early

10              decision school, I think, and all that stuff?

11    SINGER:   Yeah.

12    WILSON:   So she's got all that -

13 SINGER:      Yeah.

14    WILSON:   -- stuff goin' for her.       She really loves it, wants

15              to get there and all that stuff, and he's willin' to

16              pay a million, 2 million. He doesn't care. Um, so

17              it's that--it's his last daughter, and he's,you know,

18              pretty well off that way.I don't know what -- um, is

19              Brown one of those 350 or million...?

20    SINGER:   Oh, it's in the millions.Yeah, yeah, yeah.        No,

21              there's no -

22    WILSON:   2 million side door?

23    SINGER:   -- 350 [IA]...Yeah, there's no -- there's no

24               [laughter] 350...I'll -- I would have a [IA] --



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                                                            USAO-VB-01720565


                            EX. 571A p. 12 of 19
    Case 1:19-cr-10080-LTS Document 2719-21 Filed 08/15/23 Page 14 of 20




      9163848802 2018-09-29 15-24-23 09249-001


1      WILSON:   I thought that Stanford -- not Stanford -- I thought

2                 that UCLA and USC and stuff like that was [IA] --

3      SINGER:   [OV] Yeah, that's a different story. They're not

4                Brown.

5      WILSON:   No, no, that's what I meant.         The, the -- there's

6                 the 350 schools, or...         [laughter]

7      SINGER:   Yeah.        Yeah, exactly.

8      WILSON:   And everybody else jumps up to the million [UI],

9                 yeah?

10     SINGER:   Yeah, you gotta ante way up.         Yeah, absolutely.

11     WILSON:   There's not much, uh -- not much in between. Uh,

12                because last time [UI] it seemed like, just a,

13                a bunch of them are 350s, the second tier or

14                Whatever you wanna call 'em, and then everything

15                else just jumped immediately to --

16     SINGER:    That's correct.

17     WILSON:    -- [IA] 1, 2.

18     SINGER:    W-- yeah.

19     WILSON:    There's no, like, 500 or 700 [UI] --

20     SINGER:    [OV] No, no.

21     WILSON:    -- or...?

22     SINGER:    No.    No, because it makes no sense for them to get

23                involved at those schools unless they're gonna

24               really Get after.           But in your case, with the




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                                                               USAO-VB-01720566


                               EX. 571A p. 13 of 19
    Case 1:19-cr-10080-LTS Document 2719-21 Filed 08/15/23 Page 15 of 20




      9163848802 2018-09-29 15-24-23 09249-001


1                girls, I may be able to negotiate, knock it down so

2                that, you know, that's a lot for 2 and figure it out.

3      WILSON:   L-let's say, let's say they both wanted to go to,

4                 you know, Harvard or a Stanford, right? Obviously -

5                 is it much more difficult in Stanford versus

6                 Harvard, or Princeton?

7      SINGER:   No, same -- no, but it's the same --

8      WILSON:   Are they all the same?

9      SINGER:   They're all the same.

10     WILSON:   Yeah.      If you wanted to do 2 at Harvard or 2 at

11                Stanford...?    Now, I'm an alumni at Harvard.I've

12                Given some money, but not a lot.       You know, I've

13                given, you know, a few hundred grand or--

14     SINGER:   [OV/IA] Uh, well, uh, so we just need to strategize

15                on how we're gonna -- where we're gonna go, where we

16                wanna go, right? 'Cause I don't think the girls have

17                any, any idea right now.

18     WILSON:   Yeah, no, I don't think...          They would love to go

19               To Stanford or Harvard. [UI] --

20     SINGER:   Sure.

21     WILSON:   -- she loves the school there, and loves the thought

22                of it.    Uh, Courtney loves Harvard, just from the

23                Thought of it. I know she's said to her friends-Uh,

24                 I just listen to 'em talkin' to their friends, you




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                                                              USAO-VB-01720567


                              EX. 571A p. 14 of 19
Case 1:19-cr-10080-LTS Document 2719-21 Filed 08/15/23 Page 16 of 20




     9163848802 2018-09-29 15-24-23 09249-001


1                 know?

2    SINGER:     Right.

3    WILSON:     "Where would you like to go?"You hear that stuff.

4                It doesn't have my influence...    It has my

5                Influence indirectly, and, of course, they have

6                these big, you know -- oh, that's a great school,

7                just the, the brand name in their minds, you know.

8     SINGER:    Well, and again, most people don't think they can

9                 get into Stanford so they don't even bring up

10                that name.

11 WILSON:        Yeah, but they lived out there and they went -

12 SINGER:        I know.

13 WILSON:       --swimming in the waterfalls.

14 SINGER:        Right.
                  They
15 WILSON:        Sohey know that -

16 SINGER:        No, no, I totally get it. [laughter] I totally get

17                It. No, I get it.

18 WILSON:        They know the routine, they lived there.

19 SINGER:       Yeah.

20 WILSON:      So those are the 2 that are on the top. I-it's, it's

21              the strategy to try to get into those 2. Um, is

22              Harvard easier 'cause I'm a-

23 SINGER:      No, it's not that.

24 WILSON:      -- legacy?




                                     15
                                                        USAO-VB-01720568


                             EX. 571A p. 15 of 19
Case 1:19-cr-10080-LTS Document 2719-21 Filed 08/15/23 Page 17 of 20




     9163848802 2018-09-29 15-24-23 09249-001


1     SINGER:   [CV] But --

2     WILSON:   That doesn't mean shit?

3     SINGER:   Your legacy means 0, because...           [laughter]

4     WILSON:   That's true for most of my life, you know.

5     SINGER:   John, [OV/IA] --

6     WILSON:   Unless you're donating a building, huh?

7     SINGER:   You've done quite well for yourself, so for a guy

8               that has no legacy, you're OK.            [laughter]

9     WILSON:   Oh, shit. So legacy doesn't help at all, huh?

10 SINGER:      Unless you're a big legacy, but you --

11 WILSON:      Especially a big donor legacy, huh?0K.

12 SINGER:      -- you haven't -- you haven't done that yet.

13 WILSON:      OK, I see.That's interesting. So that doesn't

14              matter.    Um --

15 SINGER:      Like, what's your -- like, how much do you give to

16              Harvard?

17 WILSON:      Nothing.   Like, a couple hundred grand over the

18              years, so...

19 SINGER:      OK.   [laughter]

20 WILSON:      So they have too much money.          It pisses me off every

21              time they ask for money. I say, sure, I'll give you

22              10 grand, you know. Stop botherin' me.

23 SINGER:      No, I get it.      I get it.

24 WILSON:      The fuckin' endowment's $30,000,000,000. Like, are you



                                       16
                                                               USAO-VB-01720569


                               EX. 571A p. 16 of 19
Case 1:19-cr-10080-LTS Document 2719-21 Filed 08/15/23 Page 18 of 20




     9163848802 2018-09-29 15-24-23 09249-001


1                shitting me?    [laughter]

2     SINGER:   I know.    I know, I know, I know.      I know, I get it.

3               I get it.
                I'd rather
4     WILSON:   [IA] give to, you know, other charities. But anyway,

5               that's a -- that's a whole different story. But i-is

6               it --

7     SINGER:   [OV] So --

8     WILSON:   -- a better strategy to try and split 'em across the

9               2-

10 SINGER:      [OV] Oh, yeah, I got [IA] strategies -

11 WILSON:      -- try to get 'em to go to 1.

12 SINGER:      -- I'm gonna...No, I'm gonna use athletics to help

13               you, because that's the easiest way.

14 WILSON:      'Cause they're pretty tall and strong, and I think

15              they could actually...         I mean, when I saw Courtney

16              rowing -

17 SINGER:      I know, no, they're good athletes.

18 WILSON:      When I saw Mamie -

19 SINGER:      [OV] Yeah.

20 WILSON:      -- row on fuckin' that crew machine, I thought she

21              was gonna break the machine, she was goin' so hard.

22 SINGER:      No, she -- no, th-they en-- they, they may end up

23              gettin' in without even a donation, but, but you -

24              you'll know at least this route, we got an --




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                                                             USAO-VB-01720570


                             EX. 571A p. 17 of 19
Case 1:19-cr-10080-LTS Document 2719-21 Filed 08/15/23 Page 19 of 20



     9163848802 2018-09-29 15-24-23 09249-001


1    WILSON:    They gotta get erg scores [UI] --

2    SINGER:    -- [OV] we got the side door route, too.

3    WILSON:    -- [OV] first though, right?

4    SINGER:    Yeah, yeah.

5    WILSON:    But they're not really playing crew much.            They're

6               not doing crew, rowing crew.

7    SINGER:    Right.
                              get in there and give a try
8     WILSON:   So you gotta [UI].

9    SINGER:    So we'll, we'll, we'll figure it out.            So --

10 WILSON:      [OV] But what would it be, if they wanted to go to

11              One, Uh, is that -- it's gonna be 2 and a half

12              [OV/UI]--

13 SINGER:      It's gonna be 1 -- it -- normally it's 1, 2 each,

14              right? So I would have to make a deal if you wanted

15              'em both at the same school, and if they could even

16              take 'em at the same school, and it would cost you -

17               it'd cost you a couple million dollars.Big guy like

18                you, [laughter] that's easy.

19    WILSON:     Yeah.     Not so easy on liquidity, but yeah,

20               [laughter]. You got the installment plan? [UI].

21    SINGER:    [laughter] You're the best. Listen, I gotta go to

22                an a--another appointment.           I just wanted to make

23               sure I got back to you. I'm gonna be spending some

24               time in Boston,



                                      18

                                                                USAO-VB-01720571


                              EX. 571A p. 18 of 19
 Case 1:19-cr-10080-LTS Document 2719-21 Filed 08/15/23 Page 20 of 20



     9163848802 2018-09-29 15-24-23 09249-001


 1              because I'm gonna be reading in Harvard this year,

2               So I'll be able to get together with you.

 3    WILSON:   Oh, I'd love that.         That'd be great.   And I'm

 4              Gonna connect you -- I'll just [UI] -- I'll send an

 5              email to you, and the guy's name is Jon Garcia, and-

 6   SINGER:    OK.

 7   WILSON:    -- he could become a client and do whatever, and

 8              I'll let the 2 of you kinda email back and forth and

 9              stuff.       He'd love to do something not known to his

10              daughter at Brown.

11    SINGER:   Got it.

12    WILSON:   [laughter] And he's got money [laughter].

13    SINGER:   I gotcha. I gotcha.

14    WILSON:   OK.

15    SINGER:   All right.        Take care.

16    WILSON:   All right, take care.           Bye.

17    SINGER:   OK, bye-bye.

                      END OF AUDIO FILE




                                      19

                                                              USAO-VB-01720572


                              EX. 571A p. 19 of 19
